                                                                      ---c• ...-.,                 .-_ c-   -,   --   -
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UNITED STATES DISJfiyrcopRT FOR THE DISTRICT OF UTAI-fl.:q '
                ~....,,.
                   _ ___.__~.{,.~,DIVISION




                                                    CNILNO. ~ ,~,6-tl/--{){).307-J>E>
                                                         (Supplied by Clerk)




                                     A. JURISDICTION

I.   Jurisdiction is proper in this court according to:

            a.   42 U.S.C. §1983
            b. - 42 u.s.c. § 1985
            c. _Other (Please Specify) _ _ _ __


2.   NAME OF PLAfNTr/.Y-1                ~
     IS A CITIZEN OF THE ST~-·A-T~-E__,,__F----..-------'--..------~
                                             -~,__,_......__..-=------




     PRESENT MAILING ADDRESS:
3.




                (Position and Title if             (Organization)
                 Was the defendant acting under the authority or color of state law at t e time these
                 c17s occurred?

      YES_,/'_NNr.o        . If your answer is "YES" briefly explain.
            I




 5.   NAME OF TBIRD
      (If applicable)"°'jfh L-tf....,......"""".-'"

       IS A CITIZEN        ot-""----"'F-=:.-=.------""'-'"-'--F----.t;.-<+~
              Was th   ~defendant   acting under the authority or color of state law at the time these
                       occurred?

      YES_'_NO_. If your answer is "YES" briefly explain.                                                t
       @uLdvu~utr1~~ ~

6.




(Use additional sheets of paper if necessary.)

                                       B. NATURE OF CASE

 1.   . Why are you bringin&.,this case to court? Please explain the circumstances that led to the
        problem. ~·




                                                                                                             I
                           Department of Workforce Services
                           PO BOX 143245
                           SALT LAKE CITY, UT 84114-3245            ~
                                                                     ~·
                           Date Mailed: 06-05-2018



                            MICHAEL H THOMPSON
                            35B1 S DGANN DR
                            WEST VALLEY CITY, UT 84128-2526




                            Dear MICHAEL H THOMPSON

                           It is now time to review your disabi ·
                           Your redetermination has been assi
                           the redetermination process.

                           This packet contains a Medicaid Disability Adden u                      Auth ·     to Release Health
                           Information (Form 114R). When you complete the Form 354, check your personal information for accuracy and
                           include your medical provider/faoility/hospital(s) name, address(s), and phone number(s). Please return the
                           completed forms within 10 days of receiving this notice.

                           Twelve months of medical records will be requested from the medical providers listed on the Form 354. If you
                           have medical records for the past 12 months that support your disability claim, send those to us as well.

                           We cannot request records, schedule appointments or assist you with obtaining these until the Forms 354 and
                            114R are completed and returned. If you need more time to complete the redetermination process, have
.t;I)'' •·'   ;~.          questions or need help completing these forms, call the Disability Medicaid Determination team, Monday through
·'+>:·"'                    Friday, 8:00 a.m. to 5:00 p.m., at 801-245-4848 or toll-free at 1-877-824-6531.

                            Mail your verifications to:                   Department of Workforce Services
                                                                          Imaging Operations
                                                                          P.O. Box 143245
                                                                          Salt Lake City, UT 84114-3245

                            Fax to:                                       Toll Free: 1-877-313-4717
                                                                          Salt Lake City area: 801-526-9500

                            Please write your name and case number on all verifications you send.
                                                                                                                                       <1361>




                                Toll free:
                                         1-866-435-7414                                                       Toll free FAX: 1-877-313-4717
                                Phone Number: 801-526-0950                                                              FAX: 801-526-9500


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~                                            ****''""'***:::**AUTO**SCH 5-DIGn.., 84120
                                             MICHAEL H THOMPSON
                                                                                                                                                 T60B82
                                                                                                                                                 35147

                                             3581 S DEANN OR
                                             WEST VALLEY CITY UT 84128-2526

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                                  C. CAUSE OF ACTION

I.   I allege that my constitutional rights, privileges or immunities have been violated and that
     the following facts fom1 the basis for my allegations: (If necessary you may attach additional
     pages)

     a.     (1)




      b.
,.•f/·"




          I.




                      E. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

           I.   Have you file other lawsuits in state or federal court that deal with the same facts that are
                involved i his action or otherwise relate to the conditions of your imprisonment?
                YES        I NO _ _ . If your answer is 11 YES, 11 describe each lawsuit. (If there is more
                than one lawsuit, describe additional lawsuits on additional separate pages, using the same
                outline.)




i\
             ,•,.




                           Disposition (for example: Was the case ismissed? Was it appeale
                           pending?)                                                                           I
                    d.     Issu~L..:~~~-;'..--------------------


                    e.      When did you file the lawsuit?
                                                                    Date    Month   Year


                    f.      When was it (will it be) decided?   ---~--"----"'---'--~-"--="-------
        2.          Have you previously sought informal or formal relief from  th~~ropriate   administrative
                    officials regarding the acts complained of in Part C? YES_:?;_;~
                                                                                   N~O _ _ . If your answer
                    is "YES" briefly describe how relief was sought and the results. If your answer is "NO"
                    explain why administrative relief was not sought.




         I.          I believe that I am entitled o the following relief:




·: ~.




                                                                                ~~
                    M--6(/~ 1-nt_                                           '3 ~ ~
                         ~ 1 j(;#U ~~/ 71JLr/:f:H~
                     DECLARATION UNDER PENAL TY OF PERJURY

        The undersigned declares under penalty of perjury that he/she is the plaintiff in the above
action, that he/she has read the above complaint, and that the information contained therein is true
and correct. 28 U.S.C. §1746; 18 U.S.C §1621.


Executed at     6 "~ .{ ,
              (Location)
                                      on    p-z<
                                           (Date)
                                                            20/_E
    JS 44 (Rev. 06/17)                                                                                             CIVIL COVER SHEET
    The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicjal Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)



                                                                                                                                                                                                                                         ~ -t- "9-~
    I. (a) PLAINTIFFS

                                                                                                                                                                    !lf,i.,ue; r'h.ee. 4/-
             (b) County ofResidence of First Listed Plaintiff                                                                                                           County of Residence of First Listed Defendant                                               ~ L          I/                  (}:;
                                                       (/:'XCE/'T IN U.S. P/,AINTIFFCASES)                                                                                                          (IN U.S. PIAIN71FF CASES ONJ,Y)
                                                                                                                                                                        NOTE:           IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                        THE TRACT OF LAND INVOLVED.

             ( c) Attorneys (Firm Name, Address, and Telephone Numher)                                                                                                   Attorneys (If Known)




     II. BASIS OF JURISDICTI~1acean "X"inOneB~1xOnlyJ                                                                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box.for Plaintiff
                                                                                                                                                          (For Divers try Cases On/)~~      and One Box for Defendant)
    0 I           U.S. Government                               v'( Federal Question                                                                                                                      PT           DEF                                                                   PTF             DEF
                     Plaintiff                                                (U.S. Governmenr Nor a Par()')                                               Citizen of This State                               1       0 I           Incorporated or Principal Place                          O 4            O 4
                                                                                                                                                                                                                                       of Business In This State

     0 2          U.S. Government
                     Defendant
                                                                 04 Diversity                 ~-iL
                                                                              (lndimle Cirizenship c!f Parries in !rem Ill)
                                                                                                                                                           Citizen of Another State                       0 2           0      2     Incorporated and Principal Place
                                                                                                                                                                                                                                        of Business In Another State
                                                                                                                                                                                                                                                                                                0 5          0 5


                                                                                                                                                           Citizen or Subject of a                        0 3           0      3     Foreign Nation                                             0 6          0 6
                                                                                                                                                              Forei n Coun
                     A TURE OF SUIT (Place an                                  "X" tn One Box Only)

                                                   PERSONAL INJURY                                             0 625 Drug Related Seizure                                                      0 422 Appeal 28 USC 158                                                                     375 False Claims Act
                                               0 31 0 Airplane                         65 Jersonal Injury -                     of Property 21 USC 881                                         0 423 Withdrawal                                                                         0 376 Qui Tam (31 USC
                                               0 315 Airplane Product              · /     Product Liability   0 690 Other                                                                                         28 USC 157                                                                  3729(a))
                                                                                                                                                                                                                                                                                    ,· ~attt~trRuestapportionment
                ~O Negotiable Instrument                Liability                 C(V367 Health Carel
                                                                                                                                                                                             ..     -:'PROPERTYRIGHTS.:,                                                 ......
                                                                                                                                                                                                                                                                           ·
              I 50 Recovery of Overpayment     0 320 Assault, Libel &                      Pharmaceutical
                    & Enforcement of Judgment           Slander                            Personal Injury                                                                                     0 820 Copyrights                                                                                  anks and Banking
                  I Medicare Act               0 330 Federal Employers'                    Product Liability                                                                                   0 830 Patent                                                                              O 450 Cot merce
     ,           2 Recovery of Defaulted                Liability                 0   368  Asbestos   Personal                                                                                  0        835       Patent           -   Abbreviated                                      O 46
/                   Student Loans              0 340 Marine                                 Injury Product                                                                                                         New Drug Application
                    (Excludes Veterans)        O 345 Marine Product                         Liability                                                                                           0 840 Trademark
         0     153 Recovery of Overpa)onent             Liability                    PERSONAL PROPERTY i-·,.,.·;....
                                                                                                                  ·•;"":
                                                                                                                      .. ,....\.. :'[""""':L..'A,..B"'O"'R"'·"'<"":·"':>"'::·:"",':•:._...~,,p.:'.'"' "'"':S""O'"'C"'I""A"'L""'·.,E"'•C..,UR..,:
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                                                                                                                                                                                                                                                  .,I.,.TY._·...,.:-....
                    of Veteran's Benefits       0 350 Motor Vehicle               0 370 Other Fraud            0 710 Fair Labor Standards                                                       0 86 I HJA (1395ff)
         O     160 Stockholders' Suits         Z]Motor Vehicle                    0 371 Truth in Lending                         Act                                                            0 862 Black Lu11g (923)                                                                  0 850 Securities/Commodities/
         O     190 Other Contract                       Product Liability         0 380 Other Personal         0 720 Labor/Management                                                           0 863 DI WC/DI WW (4D5(g))                                                                      Exchange
         O     195 Contract Product Liability           Dther Personal                     Property Damage                       Relations                                                      0 864 SSID Title XVI                                                                     0 890 Other Statutory Actions
         O     196 Franchise                    ' /Injury                         0 385 Property Damage         0 740 Railway Labor Act                                                         0 yS RSI (405(gy.                                                                        0 891 Agricultural Acts
                                                cYJ62 Personal Injury -                    Product Liability    0 75 I Family and Medical                                                                       'V _
                                                                                                                                                                                                                   <' ;s' '°t                                                            O 893 Environmental Matters
                                                        Medical Mal ractice                                                      Leave Act                                                                      ~                            .,._--                                      0 895 Fre dom ofinfonnation
                   . REAVPROPERT\Vi~".'c·?'•·J ;yJ:'~.;.CfVJ,frRlGHTS:i':M"'''"'' i-:PRISONERPETH'lONS:S 0 790 Other Labor Litigation                                                         '""::h-''i'"':F"'                                    "":s~UI'"'.'"'T"'S,...,,-,,...,.-j+::
                                                                                                                                                                                                             1 E"'D""E""rul."'"·""·•"'i>,...·T"":AX"',


         O     210 Land Condemnation            0 440 Other Civil Rights               Habeas Corpus:           0 791 Employee Retirement                                                        0 870 Taxes (U.S. Plaintiff                                                             O 8
         O     220 Foreclosure                  0 44 I Voting                      0 463 Alien Detainee                         Income Security Act                                                                  or Defendant)
         O     230 Rent Lease & Ejectment        0 442 Em kfyment                  O 510 Motions to Vacate                                                                                       0 87 I IRS-Third Party                                                                         Act/Review or Appeal of
         0     240 Torts to Land                 0 443 ousingl                              Sentence                                                                                                                 26 use 7609                                                                Agency Decision
         0     245 Tort Product Liability                                                 ----..i.:O
                                                                                       530 General                                                                                                                                                                                       0 950 Constitutionality of
         0     290 All Other Real Property                                             535 Death Penalty        c:,-;,£-\tJJ\1MIGMTION,.:\',>.'·'i' ·                                                                                                                                           State Statutes
                                                                                       Other:                   0 462 Naturalization Application
                                                 n..~-l'im'r.~""'mll1im~I O 540 Mandamus & Other                0 465 Other Immigration
                                                        Other                      0 550 Civil Rights                             Actions
                                                 0 448 Education                   0 555 Prison Condition
                                                                                   0 560 Civil Detainee -
                                                                                            Conditions of
                                                                                            Confinement
         V. 0 RIG IN                   (Place an "X" in One Box Only)
         0 1 Original                           0 2 Removed from                               0      3      Remanded from                          0 4 Reinstated or                     0 5 Transferred from                          0 6 Mttltidistrict                            0 8 Multidistrict
             Proceeding                             State Court                                              Appellate Court                            Reopened                              Another District                              Litigation -                                  Litigation -
                                                                                                                                                                                                    (.1pel'ijj')                            Transfer                                      Direct File
                                                                        Cite the U.S. Civil Statute under which you are filing (Do 1101 c/1ej11risdlctio11al statutes 1111/ess dlmsif)~:

         VL CAUSE OF ACTION Briefdescriptionofcause:

             VII. REQUESTED IN                                          0 C!IECK ff THIS IS A CLASS ACTION                                                         DEMAND$                                                          CHECK YES only if demanded in complaint:
                  COMPLAINT:                                                    UNDER RULE 23, F.R.Cv.P.                                                                                                                            JURY DEMAND:         0 Yes      ONo
             VIII. RELATED CASE(S)
                                                                             (See ins/rue/Ions):
                   IFANY                                                                                       JUDGE
             DATE

             FOR OFFICE USE ONLY

                RECEIPT#                                    AMOUNT                                                         APPL YING IFP                                                         JUDGE                                               MAG.JUDGE
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